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8
                           UNITED STATES DISTRICT COURT
9
                         CENTRAL DISTRICT OF CALIFORNIA
10
11
     EVA MARIE VENTI, on behalf of herself      Case No. 5:22-cv-782
12
     and all others similarly situated,
13                                              CLASS ACTION COMPLAINT
                               Plaintiff,
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          v.
15                                              JURY TRIAL DEMANDED
16   GARMON CORPORATION,
17                             Defendant.
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     CLASS ACTION COMPLAINT
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1          Plaintiff Eva Marie Venti (“Plaintiff”) brings this action on behalf of herself

2    and all others similarly situated against Defendant Garmon Corporation (“Garmon”
3
     or “Defendant”). Plaintiff makes the following allegations pursuant to the
4
5    investigation of her counsel and based upon information and belief, except as to the

6    allegations specifically pertaining to herself, which are based on personal
7
     knowledge.
8
9                                 NATURE OF THE ACTION

10         1.       This is a class action lawsuit brought on behalf of all people in the
11
     United States who purchased the following NaturVet-branded supplements for dogs
12
13   (the “Supplements”):

14                 Glucosamine DS Plus Chews
15                 Glucosamine DS Chews and Tabs
                   Glucosamine DS Plus Tabs
16
                   Glucosamine DS Liquid
17                 ArthriSoothe-Gold Chews, Liquid and Tablets
18                 ArthriSoothe Hip & Joint Formula Tablets
                   Hip & Joint Plus Chews
19                 Joint Health Level 3 Powder
20
           2.       Defendant markets the Supplements as products that help maintain and
21
22   improve joint health for dogs. The Supplements’ labels and associated online
23   representations refer to joint health. For example, the label of the Glucosamine DS
24
     Plus Chews represents that the Supplement “[s]upports connective tissue, cartilage
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26   health, and joint movement.”
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     CLASS ACTION COMPLAINT                                                                  1
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              3.    Similarly, for the ArthriSoothe-Gold Chews product, Defendant
22
23   represents that “[g]lucosamine, Chondroitin, MSM, Hyaluronic Acid, Green Lipped

24   Mussel provide the optimum blend to enhance the body’s normal repair of
25
     connective tissue and joints.”1 Defendant further represents that “[g]lucosamine
26
27
     1
28       https://naturvet.com/product/arthrisoothe-gold-soft-chews-2/ (last visited 5/4/22).

     CLASS ACTION COMPLAINT                                                                    2
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1    provides the building blocks for synovial fluid, cartilage, and connective tissue and

2    helps to stimulate the production of proteoglycans which help maintain the health
3
     and resiliency of joints and connective tissue.”2 Defendant represents on the label of
4
5    the product that “[g]lucosamine, MSM, Chondroitin and Green Lipped Mussel . . .
6    support connective tissue, cartilage health, joint movement, and lubrication of
7
     joints.”
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28       Id.

     CLASS ACTION COMPLAINT                                                                  3
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           4.       Each of the Supplements make representations regarding supporting hip
21
22   and joint health and/or connective tissue, and each contain the same key active

23   ingredients:
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     CLASS ACTION COMPLAINT                                                            4
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     CLASS ACTION COMPLAINT                                                      5
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           5.    Defendant represents that the Glucosamine DS Liquid and Soft Chews
21
22   Supplements “help maintain normal healthy cartilage and joint function in active
23   pets.”3
24
25
26
27   3
      https://naturvet.com/product/glucosamine-ds/ (last visited 5/4/22);
28   https://naturvet.com/product/glucosamine-ds-soft-chews/ (last visited 5/4/22).

     CLASS ACTION COMPLAINT                                                             6
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1          6.     Defendant represents that its Hip & Joint Chews, Hip & Joint Plus

2    Chews, and Joint Health Level 3 Powder “support healthy hip and joint function.”4
3
           7.     The main active ingredient in the Supplements is glucosamine
4
5    hydrochloride. As explained above, Defendant makes representations as to the
6    efficacy of glucosamine in with regard to joint function and connective tissue
7
     support.
8
9          8.     The second active ingredient in the Supplements is chondroitin sulfate,
10   which, according to Defendant, also supports joint function and health, as well as
11
     connective tissue.
12
13         9.     Unfortunately for consumers, however, the Supplements are a sham.
14   Decades of studies and peer-reviewed tests have repeatedly shown that supplements
15
     containing glucosamine and chondroitin do not improve joint function in dogs.
16
17         10.    In 2003, a double-blind randomized controlled trial (“RCT”) involving
18   71 dogs over 70 days compared the efficacy of Cosequin (a supplement with
19
     glucosamine and chondroitin) against two non-steroidal anti-inflammatory drugs
20
21   (“NSAIDs”) and a placebo.5 The authors objectively assessed improvements in
22   pain-related functional impairment by measuring ground reaction forces of arthritic
23
24
25   4
       https://naturvet.com/product/hip-joint-plus-soft-chew-bag/ (last visited 5/4/22);
26   https://naturvet.com/product/hip-joint-soft-chew-bag/ (last visited 5/4/22);
     https://naturvet.com/product/joint-health-level-3-powder/ (last visited 5/4/22).
     5
27     Moreau, M., et al., Clinical Evaluation Of A Nutraceutical, Carprofen And
     Meloxicam For The Treatment Of Dogs With Osteoarthritis, Vet. Record No. 152 at
28   323-29 (2003).

     CLASS ACTION COMPLAINT                                                               7
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1    limbs and there was subjective assessment by surgeons and owners of gait, joint

2    mobility, joint pain and discomfort, lameness, and activity. The researchers found
3
     that dogs treated with the supplement “showed no significant response in terms of
4
5    the objective gait analysis or either of the subjective assessments during the study,”
6    while there was a significant response with one of the NSAIDs. Likewise, as to the
7
     owners’ subjective assessment, the supplement containing glucosamine and
8
9    chondroitin provided “no significant improvements . . . .”
10         11.    In 2017, a double-blind, randomized and placebo-controlled trial studied
11
     60 dogs over 97 days.6 Half of the dogs were given a supplement with glucosamine
12
13   and chondroitin, and the other half were given a placebo. The authors concluded that
14   the supplement “did not have a beneficial treatment effect when compared to placebo
15
     treatment when evaluated by [subjective] daily owner questionnaire and [objective]
16
17   patient activity counts.”
18         12.    Other publications also indicate that Defendant’s product claims about
19
     the Supplements are false. Plumb’s Veterinary Handbook, in both its 2008 and 2017
20
21   editions, noted that glucosamine/chondroitin supplements are “[w]ell tolerated, but
22   efficacy is uncertain.” The Banfield Journal concluded in 2010 that “the benefits of
23
     using a combination of glucosamine hydrochloride and chondroitin sulfate
24
25
26   6
      Scott, et al., Efficacy Of An Oral Nutraceutical For The Treatment Of Canine
27   Arthritis: A Double-Blind Randomized, Placebo-Controlled Prospective Clinical
     Trial, Vet. Comp. Ortho.
28   Traumatol., 30 at 318-23 (2017).

     CLASS ACTION COMPLAINT                                                                8
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1    nutraceuticals to improve symptoms associated with canine and feline joint disease

2    has yet to be determined.”
3
           13.    Defendant, a large and sophisticated company, is undoubtedly aware of
4
5    these studies and knows that the Supplements are ineffective. Nevertheless. It
6    continues to sell them to unsuspecting consumers nationwide.
7
           14.    Plaintiff is a purchaser of the Supplements who asserts claims for fraud,
8
9    breach of express warranty, breach of implied warranty, unjust enrichment,
10   violations of the Magnuson-Moss Warranty Act and the consumer protection laws of
11
     the states of New York and California, on behalf of herself and all similarly situated
12
13   purchasers of the Supplements.
14                                         PARTIES
15
           15.    Plaintiff Eva Marie Venti is a citizen of New York who resides in
16
17   Buffalo, New York. Ms. Venti has purchased NaturVet ArthriSoothe-Gold Chews
18   and Glucosamine DS Plus Chews numerous times over the years for her dog. Most
19
     recently, she purchased a 180-count bottle of NaturVet ArthriSoothe-Gold Chews in
20
21   or about July 2021 from Amazon.com for approximately $40.23. Prior to her
22   purchases, Plaintiff carefully read the bottle’s labeling, including the representations
23
     that “[g]lucosamine, MSM, Chondroitin and Green Lipped Mussel . . . support
24
25   connective tissue, cartilage health, joint movement, and lubrication of joints.”
26
     Defendant made additional representations on Amazon’s website, including: “PET
27
     SUPPLEMENTS FOR ENHANCED DOG JOINT MOVEMENT: Ensure that your
28
     CLASS ACTION COMPLAINT                                                                9
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1    canine companion receives the nutrients he needs with these joint support dog

2    supplements that include a healthy blend of wholesome ingredients that offer
3
     additional support for senior pets or dogs recovering from surgery or injuries.”
4
5    Plaintiff understood these statements to mean that the Supplements would effectively
6    treat her dog’s hip and joint pain and would support connective tissue and joint
7
     movement and relied on them in that she would not have purchased the Supplements
8
9    at all, or would have only been willing to pay a substantially reduced price for the
10   Supplements, had she known that these representations were false and misleading.
11
     Plaintiff gave her dog the Supplements as directed.
12
13         16.    Plaintiff also purchased Defendant’s Glucosamine DS Plus Chews.
14   Most recently, she purchased a bottle of Defendant’s Glucosamine DS Plus Chews in
15
     or about October 2020 from Amazon.com for approximately $29.35. Prior to her
16
17   purchases, Plaintiff carefully read the bottle’s labeling, including the representations
18   that the Supplement “[s]upports connective tissue, cartilage health, and joint
19
     movement.” Plaintiff also reviewed Defendant’s additional representations on
20
21   Amazon prior to purchasing the Supplement, namely: “INGREDIENTS THAT
22   WORK - Formulated with MSM, antioxidants, Chondroitin, and Glucosamine for
23
     dogs and cats to support connective tissue, cartilage health, joint movement, and
24
25   lubrication of joints. Recommended for adult pets, including large breeds and
26
     overweight pets.” Plaintiff also reviewed Defendant’s representation: “OPTIMAL
27
     SUPPORT - Our Glucosamine DS Plus Level 2 Moderate Care joint support soft
28
     CLASS ACTION COMPLAINT                                                                 10
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1    chews are an excellent cat and dog joint supplement, providing incredible support for

2    optimal joint flexibility and cartilage health.” Plaintiff understood these statements
3
     to mean that the Supplements would effectively support connective tissue, cartilage
4
5    help and joint movement, and relied on them in that she would not have purchased
6    the Supplements at all, or would have only been willing to pay a substantially
7
     reduced price for the Supplements, had she known that these representations were
8
9    false and misleading. Plaintiff gave her dog the Supplements as directed.
10         17.    Defendant Garmon Corporation is a California corporation with its
11
     principal place of business at 27461 Vía Industria, Temecula. CA 92590. Garmon
12
13   Corporation is the manufacturer and distributor of the Supplements.
14                              JURISDICTION AND VENUE
15
           18.    The Court has jurisdiction over this action pursuant to 28 U.S.C. §
16
17   1332(d)(2)(A), as modified by the Class Action Fairness Act of 2005, because at
18   least one member of the Class, as defined below, is a citizen of a different state than
19
     Defendant, there are more than 100 members of the Class, and the aggregate amount
20
21   in controversy exceeds $5,000,000 exclusive of interest and costs.
22         19.    This Court has personal jurisdiction over Defendant because Defendant
23
     is incorporated and has its principal place of business in this District, many of the
24
25   acts and transactions giving rise to this action occurred in this District.
26
           20.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because
27
     Defendant is incorporated and has its principal place of business in this District.
28
     CLASS ACTION COMPLAINT                                                                  11
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1                                    CLASS ALLEGATIONS

2          21.      Plaintiff seeks to represent a class defined as all persons in the United
3
     States who purchased the Supplements (the “Class”). Excluded from the Class are
4
5    persons who made such purchase for purpose of resale.
6          22.      Plaintiff also seeks to represent a subclass defined as all Class members
7
     who purchased the Supplements in New York (the “New York Subclass” or
8
9    “Subclass”).
10         23.      Numerosity. The members of the Class and Subclass are
11
     geographically dispersed throughout the United States and are so numerous that
12
13   individual joinder is impracticable. Upon information and belief, Plaintiff
14   reasonably estimates that there are tens of thousands of members in the Class and
15
     Subclass. Although the precise number of Class members is unknown to Plaintiff,
16
17   the true number of Class members is known by Defendant and may be determined
18   through discovery. Class members may be notified of the pendency of this action by
19
     mail and/or publication through the distribution records of Defendant and third-party
20
21   retailers and vendors.
22         24.      Existence and predominance of common questions of law and fact.
23
     Common questions of law and fact exist as to all members of the Class and Subclass
24
25   and predominate over any questions affecting only individual Class members. These
26
     common legal and factual questions include, but are not limited to, whether
27
     Defendant’s labeling, marketing and promotion of the Supplements is false and
28
     CLASS ACTION COMPLAINT                                                                 12
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1    misleading.

2          25.     Typicality. Plaintiff’s claims are typical of the claims of the other
3
     members of the Class in that, among other things, all Class and Subclass members
4
5    were similarly situated and were comparably injured through Defendant’s wrongful
6    conduct as set forth herein. Further, there are no defenses available to Defendants
7
     that are unique to Plaintiff.
8
9          26.     Adequacy of Representation. Plaintiff will fairly and adequately
10   protect the interests of the Class and Subclass. Plaintiff has retained counsel that is
11
     highly experienced in complex consumer class action litigation, and Plaintiff intends
12
13   to vigorously prosecute this action on behalf of the Class and Subclass. Furthermore,
14   Plaintiff has no interests that are antagonistic to those of the Class or Subclass.
15
           27.     Superiority.       A class action is superior to all other available means
16
17   for the fair and efficient adjudication of this controversy. The damages or other
18   financial detriment suffered by individual Class and Subclass members are relatively
19
     small compared to the burden and expense of individual litigation of their claims
20
21   against Defendant. It would, thus, be virtually impossible for the Class or Subclass
22   on an individual basis to obtain effective redress for the wrongs committed against
23
     them. Furthermore, even if Class or Subclass members could afford such
24
25   individualized litigation, the court system could not. Individualized litigation would
26
     create the danger of inconsistent or contradictory judgments arising from the same
27
     set of facts. Individualized litigation would also increase the delay and expense to all
28
     CLASS ACTION COMPLAINT                                                                13
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1    parties and the court system from the issues raised by this action. By contrast, the

2    class action device provides the benefits of adjudication of these issues in a single
3
     proceeding, economies of scale, and comprehensive supervision by a single court,
4
5    and presents no unusual management difficulties under the circumstances.
6                                        COUNT I
7                Deceptive Acts Or Practices, New York Gen. Bus. Law § 349
8          28.     Plaintiff hereby incorporates by reference the allegations contained in
9
     all preceding paragraphs of this complaint.
10
11         29.     Plaintiff brings this claim individually and on behalf of members of the

12   New York Subclass against Defendant.
13
           30.     By the acts and conduct alleged herein, Defendant committed unfair or
14
15   deceptive acts and practices by making false representations on the label of the

16   Supplements and on Defendant’s website and those of third-party vendors.
17
           31.     The foregoing deceptive acts and practices were directed at consumers.
18
19         32.     The foregoing deceptive acts and practices are misleading in a material

20   way because they fundamentally misrepresent the ability of the Supplements to
21
     positively impact joint health, connective tissue and cartilage in dogs.
22
23         33.     Plaintiff and members of the New York Subclass were injured as a
24   result because (a) they would not have purchased the Supplements if they had known
25
     that they could not positively impact joint health in dogs, and (b) they overpaid for
26
27
28
     CLASS ACTION COMPLAINT                                                                  14
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1    the Supplements on account of the misrepresentations that they would support joint

2    health, connective tissue and cartilage, as set forth above.
3
           34.    On behalf of herself and other members of the New York Subclass,
4
5    Plaintiff seeks to enjoin the unlawful acts and practices described herein, to recover
6    their actual damages or fifty dollars, whichever is greater, three times actual
7
     damages, reasonable attorneys’ fees and costs, and an order enjoining Defendant’s
8
9    deceptive conduct, and any other just and proper relief available under Section 349
10   of the New York General Business Law.
11
                                         COUNT II
12
                     False Advertising, New York Gen. Bus. Law § 350
13
           35.    Plaintiff incorporates by reference and re-alleges each and every
14
15   allegation set forth above as though fully set forth herein.

16         36.    Plaintiff brings this claim individually and on behalf of members of the
17
     New York Subclass against Defendant.
18
19         37.    Based on the foregoing, Defendant has engaged in consumer-oriented

20   conduct that is deceptive or misleading in a material way which constitutes false
21
     advertising in violation of Section 350 of the New York General Business Law by
22
23   misrepresenting that the Supplements “[s]upport[] connective tissue, cartilage health,
24   and joint movement” and that “[g]lucosamine, MSM, Chondroitin and Green Lipped
25
     Mussel . . . support connective tissue, cartilage health, joint movement, and
26
27
28
     CLASS ACTION COMPLAINT                                                              15
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1    lubrication of joints.” Defendant made additional misrepresentations regarding the

2    Supplements, as set forth above.
3
           38.    The foregoing advertising was directed at consumers and was likely to
4
5    mislead a reasonable consumer acting reasonably under the circumstances.
6          39.    This misrepresentation has resulted in consumer injury or harm to the
7
     public interest.
8
9          40.    As a result of this misrepresentation, Plaintiff and members of the New
10   York Subclass have suffered economic injury because (a) they would not have
11
     purchased the Supplements if they had known that they could not positively impact
12
13   joint health in dogs, and (b) they overpaid for the Supplements on account of the
14   misrepresentations that the Supplements “[s]upport[] connective tissue, cartilage
15
     health, and joint movement” and that “[g]lucosamine, MSM, Chondroitin and Green
16
17   Lipped Mussel . . . support connective tissue, cartilage health, joint movement, and
18   lubrication of joints.”
19
           41.    On behalf of herself and other members of the New York Subclass,
20
21   Plaintiff seeks to enjoin the unlawful acts and practices described herein, to recover
22   their actual damages or five hundred dollars, whichever is greater, three times actual
23
     damages, and reasonable attorneys’ fees and costs, and an order enjoining
24
25   Defendant’s deceptive conduct, and any other just and proper relief available under
26
     Section 350 of the New York General Business Law.
27
28
     CLASS ACTION COMPLAINT                                                              16
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1                                          COUNT III
                                   Breach of Express Warranty
2
3              42.   Plaintiff incorporates by reference and re-alleges each and every

4    allegation set forth above as though fully set forth herein.
5
               43.   Plaintiff brings this claim individually and on behalf of members of the
6
7    Class and New York Subclass against Defendant.

8              44.   In connection with the sale of the Supplements, Defendant, as the
9
     designer, manufacturer, marketer, distributor, and/or seller issued written warranties
10
11   by representing that the Supplements “[s]upport[] connective tissue, cartilage health,

12   and joint movement” and that “[g]lucosamine, MSM, Chondroitin and Green Lipped
13
     Mussel . . . support connective tissue, cartilage health, joint movement, and
14
15   lubrication of joints.” Defendant made additional express warranties, as set forth

16   above, regarding the Supplements’ impact on joint health, cartilage, and connective
17
     tissue.
18
19             45.   In fact, the Supplements do not conform to the above-referenced

20   representations because they are ineffective.
21
               46.   Plaintiff and the members of the proposed Class and the New York
22
23   Subclass were injured as a direct and proximate result of Defendant’s breach because
24   (a) they would not have purchased the Supplements if they had known that they
25
     could not positively impact joint health in dogs, and (b) they overpaid for the
26
27   Supplements on account of the misrepresentations that the Supplements “[s]upport[]
28
     CLASS ACTION COMPLAINT                                                                17
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1    connective tissue, cartilage health, and joint movement” and that “[g]lucosamine,

2    MSM, Chondroitin and Green Lipped Mussel . . . support connective tissue, cartilage
3
     health, joint movement, and lubrication of joints.”
4
5          47.    Plaintiff’s counsel notified Defendant of her claims in a demand letter,
6    sent via certified mail, on May 5, 2022.
7
                                          COUNT IV
8                                             Fraud
9          48.    Plaintiff incorporates by reference and re-alleges each and every
10   allegation set forth above as though fully set forth herein.
11
           49.    Plaintiff brings this claim individually and on behalf of the members of
12
13   the proposed Class and New York Subclass against Defendant.
14
           50.    As discussed above, Defendant misrepresented on the Supplement’s
15
     packaging that the Supplements “[s]upport[] connective tissue, cartilage health, and
16
17   joint movement” and that “[g]lucosamine, MSM, Chondroitin and Green Lipped
18
     Mussel . . . support connective tissue, cartilage health, joint movement, and
19
     lubrication of joints.”
20
21         51.    The false and misleading representations and omissions were made with
22
     knowledge of their falsehood. Defendant is a top distributor of dog supplements in
23
     the United States that is undoubtedly aware of the studies finding that supplements
24
25   with glucosamine and chondroitin are ineffective for joint health in dogs.
26
     Nonetheless, Defendant continues to sell its ineffective and worthless Supplements
27
28   to unsuspecting consumers.

     CLASS ACTION COMPLAINT                                                              18
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1          52.    The false and misleading representations and omissions were made by

2    Defendant, upon which Plaintiff and members of the proposed Class and New York
3
     Subclass reasonably and justifiably relied, and were intended to induce and actually
4
5    induced Plaintiff and members of the proposed Class and New York Subclass to
6    purchase the Supplements.
7
           53.    The fraudulent actions of Defendant caused damage to Plaintiff and
8
9    members of the proposed Class and New York Subclass, who are entitled to damages
10   and other legal and equitable relief as a result.
11
                                            COUNT V
12
                                Magnuson-Moss Warranty Act
13         54.    Plaintiff incorporates by reference and re-alleges each and every
14
     allegation set forth above as though fully set forth herein.
15
16         55.    Plaintiff brings this case individually and on behalf of the members of

17   the proposed Class and New York Subclass against Defendant.
18
           56.    The Supplements are a consumer product as defined in 15 U.S.C. §
19
20   2301(1).
21         57.    Plaintiff and members of the Class and the New York Subclass are
22
     consumers as defined in 15 U.S.C. § 2301(3).
23
24         58.    Defendant is a supplier and warrantor as defined in 15 U.S.C. § 2301(4)
25   and (5).
26
27
28
     CLASS ACTION COMPLAINT                                                             19
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1           59.   In connection with the sale of the Supplements, Defendant issued

2    written warranties as defined in 15 U.S.C. § 2301(6), which warranted that, inter
3
     alia, the Supplements “[s]upport[] connective tissue, cartilage health, and joint
4
5    movement” and that “[g]lucosamine, MSM, Chondroitin and Green Lipped Mussel .
6    . . support connective tissue, cartilage health, joint movement, and lubrication of
7
     joints.”
8
9           60.   In fact, the Supplements are ineffective for their intended purpose and
10   do not conform to this representation.
11
            61.   By reason of Defendant’s breach of warranty, Defendant violated the
12
13   statutory rights due to Plaintiff and the members of the proposed Class and the New
14   York Subclass pursuant to the Magnuson-Moss Warranty Act, 15 U.S.C. §§ 2301, et
15
     seq., thereby damaging Plaintiff and the members of the Class and the New York
16
17   Subclass.
18          62.   Plaintiff and the members of the Class and the New York Subclass were
19
     injured as a direct and proximate result of Defendant’s violation because (a) they
20
21   would not have purchased the Supplements if they had known that they were
22   ineffective for their stated purposes, and (b) they overpaid for the Supplements on
23
     account of the misrepresentations.
24
25          63.   Plaintiff’s counsel notified Defendant of her claims in a demand letter,
26
     sent via certified mail, on May 5, 2022.
27
28
     CLASS ACTION COMPLAINT                                                                20
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1                                          COUNT VI

2                                     Unjust Enrichment
           64.    Plaintiff incorporates by reference and re-alleges each and every
3
4    allegation set forth above as though fully set forth herein.

5          65.    Plaintiff brings this case individually and on behalf of the members of
6
     the proposed Class and New York Subclass against Defendant.
7
8          66.    Plaintiff and Class members conferred a benefit in the form of monies

9    paid on Defendant by purchasing the Supplements.
10
           67.    Defendant voluntarily accepted and retained this benefit.
11
12         68.    Because this benefit was obtained unlawfully, namely by selling and

13   accepting compensation for the worthless Supplements, it would be unjust and
14
     inequitable for the Defendant to retain it without paying the value thereof.
15
16                                        COUNT VII

17                 Violation of Consumer Legal Remedies Act (“CLRA”)
                                 Civil Code §§ 1750, et seq.
18
           69.    Plaintiff incorporates by reference and re-alleges each and every
19
20   allegation set forth above as though fully set forth herein.

21         70.    Plaintiff brings this claim individually and on behalf of the members of
22
     the proposed Class against Defendant for injunctive relief only.
23
24         71.    This cause of action is brought pursuant to California’s Legal Remedies

25   Act, Cal. Civ. Code §§ 1750-1785 (the “CLRA”).
26
27
28
     CLASS ACTION COMPLAINT                                                             21
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1          72.    Plaintiff and members of the Classes are consumers who purchased the

2    Supplements for personal, family, or household purposes. Accordingly, Plaintiff and
3
     members of the Classes are “consumers,” as the term is defined by Cal. Civ. Code §
4
5    1761(d).
6          73.    At all relevant times, Defendant’s Supplements constituted “goods,” as
7
     the term is defined by Cal. Civ. Code § 1761(a).
8
9          74.    At all relevant times, Defendant was a “person,” as that term is defined
10   in Cal. Civ. Code § 1761(c).
11
           75.    At all relevant times, Plaintiff’s purchases of Defendant’s Supplements,
12
13   and the purchases of other members of the Classes constituted “transactions,” as that
14   term is defined in Cal. Civ. Code § 1761(e).
15
           76.    The conduct alleged in this Complaint constitutes unfair methods of
16
17   competition and unfair and deceptive acts and practices for the purposes of the
18   CLRA, and the conduct was undertaken by Defendant in transactions intended to
19
     result in, and which did result in, the sale of goods to consumers.
20
21         77.    The policies, acts, and practices described in this Complaint were
22   intended to and did result in the sale of Defendant’s Supplements to Plaintiff and
23
     members of the Classes. Defendant’s practices, acts, policies, and course of conduct
24
25   violated the CLRA § 1750 et seq., as described above.
26
           78.    Defendant represented that its Products have sponsorship, approval,
27
     characteristics, ingredients, uses, benefits, or quantities which they do not have in
28
     CLASS ACTION COMPLAINT                                                                  22
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1    violation of Cal. Civ. Code § 1770(a)(5) because Defendant represented, inter alia,

2    that the Supplements “[s]upport[] connective tissue, cartilage health, and joint
3
     movement” and that “[g]lucosamine, MSM, Chondroitin and Green Lipped Mussel .
4
5    . . support connective tissue, cartilage health, joint movement, and lubrication of
6    joints.”
7
            79.   Defendant represented that its Products were of a particular standard,
8
9    quality, and grade, when they were another, in violation of Cal. Civ. Code § 1770(7).
10          80.   Defendant violated Cal. Civ. Code §§ 1770(a)(5) and (a)(7) by
11
     representing that its Products were safe and effective for use as joint health
12
13   supplements for dogs, when they in fact were not.
14          81.   Defendant represented that its Products were of a particular standard or
15
     quality when Defendant was aware that they were of another in violation of §
16
17   1770(a)(7) of the CLRA.
18          82.   Defendant advertised its Products with intent not to sell them as
19
     advertised in violation of § 1770(a)(9) of the CLRA.
20
21          83.   Plaintiff and members of the Classes suffered injuries caused by
22   Defendant’s misrepresentations because: (a) Plaintiff and members of the Classes
23
     would not have purchased the Products on the same terms if they had known the true
24
25   facts; (b) Plaintiff and members of the Classes paid a premium price due to the
26
     mislabeling of Defendant’s Products; and (c) Defendant’s Products did not have the
27
     level of quality, effectiveness, or value as promised.
28
     CLASS ACTION COMPLAINT                                                                23
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1          84.    Prior to the filing of this Complaint, a CLRA notice letter was served on

2    Defendant which complies in all respects with California Civil Code § 1782(a). On
3
     May 5, 2022, Plaintiff sent Defendant a letter via certified mail, return receipt
4
5    requested, advising Defendant that they are in violation of the CLRA and must
6    correct, repair, replace, or otherwise rectify the goods alleged to be in violation of the
7
     CLRA and must correct, replace or otherwise rectify the goods alleged to be in
8
9    violation of § 1770. Wherefore, Plaintiff seeks injunctive relief for this violation of
10   the CLRA.
11
                                          COUNT VIII
12
                        Violation of False Advertising Law (“FAL”)
13                      Business & Professions Code §§ 17500, et seq.
14         85.    Plaintiff incorporates by reference and re-alleges each and every
15
     allegation set forth above as though fully set forth herein.
16
17         86.    Plaintiff brings this claim individually and on behalf of the members of

18   the proposed Classes against Defendant.
19
           87.    California’s FAL (Bus. & Prof. Code §§ 17500, et seq.) makes it
20
21   “unlawful for any person to make or disseminate or cause to be made or
22   disseminated before the public in this state…in any advertising device…or in any
23
     other manner or means whatever, including over the Internet, any statement,
24
25   concerning…personal property or services, professional or otherwise, or
26   performance or disposition thereof, which is untrue or misleading and which is
27
28
     CLASS ACTION COMPLAINT                                                                24
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1    known, or which by the exercise of reasonable care should be known, to be untrue or

2    misleading.”
3
           88.      Throughout the Class Period, Defendant committed acts of false
4
5    advertising, as defined by §§ 17500, by using false and misleading statements to
6    promote the sale of the Supplements, as described above, including but not limited
7
     to, misrepresenting that the Supplements “[s]upport[] connective tissue, cartilage
8
9    health, and joint movement” and that “[g]lucosamine, MSM, Chondroitin and Green
10   Lipped Mussel . . . support connective tissue, cartilage health, joint movement, and
11
     lubrication of joints.”
12
13         89.      Defendant knew or should have known, through the exercise of
14   reasonable care that the statements were untrue and misleading.
15
           90.      Defendant’s actions in violation of §§ 17500 were false and misleading
16
17   such that the general public is and was likely to be deceived.
18         91.      As a direct and proximate result of these acts, consumers have been and
19
     are being harmed. Plaintiff and members of the Classes have suffered injury and
20
21   actual out-of-pocket losses because: (a) Plaintiff and members of the Classes would
22   not have purchased the Supplements if they had known the true facts regarding the
23
     Supplements; (b) Plaintiff and members of the Class paid a price premium due to the
24
25   misrepresentations about the Supplements; and (c) the Products did not have the
26
     promised quality, effectiveness, or value.
27
28
     CLASS ACTION COMPLAINT                                                               25
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1          92.    Plaintiff brings this action pursuant to § 17535 for injunctive relief to

2    enjoin the practices described herein and to require Defendant to issue corrective and
3
     disclosures to consumers. Plaintiff and the members of the Classes are therefore
4
5    entitled to: (a) an order requiring Defendant to cease the acts of unfair competition
6    alleged herein; (b) full restitution of all monies paid to Defendant as a result of its
7
     deceptive practices; (c) interest at the highest rate allowable by law; and (d) the
8
9    payment of Plaintiff’s attorneys’ fees and costs.
10                                         COUNT IX
11                      Violation of Unfair Competition Law (“UCL”)
                        Business & Professions Code §§ 17200, et seq.
12
13         93.    Plaintiff incorporates by reference and re-alleges each and every

14   allegation set forth above as though fully set forth herein.
15
           94.    Plaintiff brings this claim individually and on behalf of the members of
16
17   the proposed Class against Defendant.

18         95.    Defendant is subject to the UCL, Bus. & Prof. Code § 17200, et seq.
19
     The UCL provides, in pertinent part: “Unfair competition shall mean and include
20
21   unlawful conduct, unfair or fraudulent business practices and unfair, deceptive,
22   untrue or misleading advertising….” The UCL also provides for injunctive relief
23
     and restitution for violations.
24
25         96.    “By proscribing any unlawful business practice, § 17200 borrows
26   violations of other laws and treats them as unlawful practices that the UCL makes
27
     independently actionable.” Cel-Tech Communications, Inc. v. Los Angeles Cellular
28
     CLASS ACTION COMPLAINT                                                                    26
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1    Telephone Co., 20 Cal. 4th 163, 180 (1999) (citations and internal quotation marks

2    omitted).
3
           97.    Virtually any law or regulation—federal or state, statutory, or common
4
5    law—can serve as a predicate for a UCL “unlawful” violation. Klein v. Chevron
6    U.S.A., Inc., 202 Cal. App. 4th 1342, 1383 (2012).
7
           98.    Defendant has violation the UCL’s “unlawful prong” as a result of its
8
9    violations of the CLRA and FAL, as well as by breaching implied warranties as
10   described herein.
11
           99.    Throughout the Class Period, Defendant committed acts of unfair
12
13   competition, as defined by § 17200, by using false and misleading statements to
14   promote the sale of the Supplements, as described above.
15
           100. Defendant’s misrepresentations and other conduct, described herein,
16
17   violated the “unfair prong” of the UCL because the conduct is substantially injurious
18   to consumers, offends public policy, and is immoral, unethical, oppressive, and
19
     unscrupulous, as the gravity of the conduct outweighs any alleged benefits.
20
21   Defendant’s conduct is unfair in that the harm to Plaintiff and members of the
22   Classes arising from Defendant’s conduct outweighs the utility, if any, of those
23
     practices.
24
25         101. Defendant’s practices as described herein are of no benefit to consumers
26
     who are tricked into believing that the Supplements are fit for their purpose as joint
27
     health supplements for dogs. Defendant’s practice of injecting misinformation into
28
     CLASS ACTION COMPLAINT                                                              27
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1    the marketplace about the capabilities of its Supplements is unethical and

2    unscrupulous, especially because consumers trust companies like Defendant to
3
     provide accurate information about their products. Taking advantage of that trust,
4
5    Defendant misrepresents the effectiveness and quality of its Supplements to increase
6    sales. Consumers believe that Defendant is an authority on the effectiveness and
7
     quality of dog supplements and therefore believe Defendant’s representations that its
8
9    Supplements are effective for their intended use as joint health nutritional
10   supplements for dogs.
11
           102. Defendant’s conduct described herein, violated the “fraudulent prong”
12
13   of the UCL by representing that the Supplements were effective for their intended
14   use as joint health supplements for dogs, when in fact they were not.
15
           103. Plaintiff and members of the Class are not sophisticated experts with
16
17   independent knowledge of the effectiveness of the Supplements, and they acted
18   reasonably when they purchased the Supplements based on their belief that
19
     Defendant’s representations were true.
20
21         104. Defendant knew or should have known, through the exercise of
22   reasonable care, that its representations about the Products were untrue and
23
     misleading.
24
25         105. As a direct and proximate result of these acts, consumers have been and
26
     are being harmed. Plaintiff and members of the Classes have suffered injury and
27
     actual out of pocket losses as a result of Defendant’s unfair, unlawful, and fraudulent
28
     CLASS ACTION COMPLAINT                                                               28
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1    business acts and practices because: (a) Plaintiff and members of the Classes would

2    not have purchased the Supplements on the same terms if they had known the true
3
     facts regarding the safety and effectiveness of the Supplements; (b) Plaintiff and
4
5    members of the Class paid a price premium due to the misrepresentations on
6    Defendant’s Supplements; and (c) Defendant’s Supplements did not have the quality
7
     and effectiveness or value as promised.
8
9          106. Pursuant to California Business & Professions Code § 17203, Plaintiff
10   and members of the Classes are therefore entitled to: (a) an Order requiring
11
     Defendant to cease the acts of unfair competition alleged herein; (b) full restitution
12
13   of all monies paid to Defendant as a result of its deceptive practices; (c) interests at
14   the highest rate allowable by law; and (d) the payment of Plaintiff’s attorneys’ fees
15
     and costs.
16
17                                  PRAYER FOR RELIEF
18         WHEREFORE, Plaintiff, individually and on behalf of all others similarly
19
     situated, seeks judgment against Defendant, as follows:
20
21                (a)    For an order certifying the Class and Subclass under Rule 23 of
                         the Federal Rules of Civil Procedure and naming Plaintiff as
22                       representative of the Class and Plaintiff’s attorneys as Class
23                       Counsel to represent the Class and Subclass;
24                (b)    For an order finding in favor of Plaintiff and the Class and
25                       Subclass on all counts asserted herein;

26                (c)    For compensatory and punitive damages in amounts to be
                         determined by the Court and/or jury;
27
28
     CLASS ACTION COMPLAINT                                                                 29
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1                 (d)    For prejudgment interest on all amounts awarded;

2                 (e)    For an order of restitution and all other forms of equitable
                         monetary relief;
3
4                 (f)    For injunctive relief as pleaded or as the Court may deem proper;
                         and
5
                  (g)    For an order awarding Plaintiff and the Class and Subclass her
6
                         reasonable attorneys’ fees and expenses and costs of suit.
7
                               DEMAND FOR TRIAL BY JURY
8
9          Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by
10   jury of any and all issues in this action so triable of right.
11
12
     Dated: May 6, 2022                       Respectfully Submitted,
13
                                              BURSOR & FISHER, P.A.
14
15                                            By:    /s/ L. Timothy Fisher
16                                            L. Timothy Fisher (State Bar No. 191626)
                                              1990 North California Blvd., Suite 940
17                                            Walnut Creek, CA 94596
18                                            Telephone: (925) 300-4455
                                              Facsimile: (925) 407-2700
19                                            E-Mail: ltfisher@bursor.com
20                                            Attorneys for Plaintiff
21
22
23
24
25
26
27
28
     CLASS ACTION COMPLAINT                                                               30
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1
     CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)
2
3    I, L. Timothy Fisher, declare as follows:
4          1.     I am an attorney at law licensed to practice in the State of California and
5    I am member of the bar of this Court. I am a partner at Bursor & Fisher, P.A.,
6    counsel of record for Plaintiff in this action. I have personal knowledge of the facts
7    set forth in this declaration and, if called as a witness, I could and would competently
8    testify thereto under oath.
9          2.     The Complaint filed in this action is filed in the proper place for trial
10   under Civil Code Section 1780(d) in that a substantial portion of the events alleged
11   in the Complaint occurred in this District.
12         3.     I declare under the penalty of perjury under the laws of the State of
13   California and the United States that the foregoing is true and correct and that this
14   declaration was executed at Walnut Creek, California this 6th day of May, 2022.
15
                                                          /s/ L. Timothy Fisher
16                                                            L. Timothy Fisher
17
18
19
20
21
22
23
24
25
26
27
28
     CLASS ACTION COMPLAINT
